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lN THE UNI'I`ED STATES DISTRICT COU'RTlt
FOR THE DISTRICT OF MAR¥_}IMD 1 p
Civil Action No.

PERCY D. GIVENS.

6857 Arbor Lane

Bryans Road. Charles County,
Maryland, 20616

Plaintiff.
v. Plaintiff’s First Complaint
(Demand for jury Trial)
CITIMORTGAGE INC.
Registered Agent

The Corporation Trust lnc.
300 E. Lombard Street.
Baltimore City,

Baltimore City Maryland,
21202

vva\/vvv`/VVVVV\/VVV

Defendant,

 

NOW COMES Plaintiff and hereby complains of Defendants as follows:
IN'I`RODUCTION

Plaintiff refinanced a home in January 2008. Being a hardworking and prudent man, Plaintiff
paid off any indebtedness on the home. Subsequently, Plaintiff began to receive communications
from Defendant Citimortgage lnc (hereinaher “Defendant") regarding an alleged indebtedness
Plaintiff asked Defendant to supply certain information to Plaintiff to confirm the validity of the
alleged debt. Defendant has refused to respond to Plaintiff and has. in bad faith, failed to supply any
of the requested information Simultaneously, Defendant has sought to foreclose on Plaintifl`s
primary residence.

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JURISDICTION

. Plaintiff is a resident and citizen of Charles County, Maryland and has been for at least six

months preceding the filing of this action.

Upon information and belief, Defendant is a corporation formed under the laws of the State of
Missouri and licensed to conduct business in the State of MARYLAND.

This Court hasjurisdiction under federal question jurisdiction pursuant to 28 U.S.C.A. § 1331.
Plaintiff reincorporates and realleges all previous allegations as if set forth fully herein.
Plaintiff is the owner of real property located at 6857 Arbor lane. Bryans Road, MD 20616

On or about September 09, 2009 Defendant instituted a foreclosure action against Plaintiff`. case
number C09-2678 in Charles County. Maryland.

()n or about October 16, 2009. Plaintiff requested verification of the debt Defendant alleged was
owed.

Defendant Citimortgage lnc. has never responded to Plaintiff`s request. More than thirty days
has expired since Defendant Citimortgage lnc. received PlaintiH`s request.

Dun`ng the pendency of Plaintiff`s request. Defendant continued to report a negative payment
history to the three main credit bureaus.

Plaintiff has never executed an agreement or any contract with Defendant Citimortgage lnc.
There is no privity of contract between the parties.

Defendant Citimortgage lnc. has never produced any documentation to establish that there is
privity of contract amongst the parties.

. Despite Plaintiff`s requests. Defendant has never produced the promissory note that would be the

basis for any indebtedness owed by Plaintiff to Defendant Citimortgage Inc.

Plaintiff is a consumcr.

Defendant is a debt collector.

Defendant does not possess any promissory note signed by Plaintiff.

Plaintiff has consistently requested that Defendant produce a VERIFIED COPY of the

promissory note and any accompanying documentation demonstrating how Defendant
Citimortgage lnc. gained access and/or ownership of the promissory note.

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Defendant proceeded with a foreclosure action in spite of the unresolved dispute regarding the
validity of the allege Debt.

FIRST CAUSE OF ACTION
VlOLATlONS OF THE FAlR DEBT COLLECT|ON PRACTICES ACT,
15 USC 1692

Plaintiff reincorporates and realleges all previous allegations as if set forth fully herein.

Plaintiff sent a request for information to Defendant Citimortgage Inc. This request was made in
good faith and done in an attempt to verify the debt Defendant alleged was owed.

Defendant’s failure to respond was done in bad faith and in an attempt to allow Defendant to
continue to seek to collect on an invalid debt.

Defendant Citimortgage lnc. has not and cannot prove that said Defendant ever was granted the
contractual right to collect a debt from Plaintiff.

Even without the aforementioned proof. Defendant continued to seek to collect a debt from
Plaintiff.

Defendant Citimortgage lnc. has failed to demonstrate that it has an original promissory note or
VERlFIED COPY signed by Plaintiff or that any such note exists.

. Defendant, while acting as a debt collector, engaged in conduct of which the natural consequence

was to harass. oppress. or abuse Plaintiff regarding the attempts to collect a debt. the Defendant
alleged was owed.

Defendant misrepresented the legal status of the alleged debt when seeking the foreclosure
Plaintiff has suffered damages due to these violations Said damages exceed $400.000.00.
SECOND CAUSE OF ACTION
VlOLATlONS OF THE FAIR CREDIT REPORTTNG ACT,
15 U.s.C.A. § 1681

Plaintiff reincorporates and realleges all previous allegations as if set forth fully herein.

Plaintiff unequivocally advised Defendant Citimortgage lnc. that the debt was being disputed.
Certain information was requested to assist in resolving the dispute.

Plaintiff also requested a validation of the debt.

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30. Defendant Citimortgage Inc. failed to respond to Plaintiffs request and simultaneously

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continued to report negative information to the three major credit reporting agencies
Plaintiff has suffered damage to his credit score. limited access to credit and emotional damages

all of which are in excess of $400,000.00

THIRD CAUSE OF ACTION
EXTORT!ON. 18 U.S.C.A. § 1951
Plaintiff reincorporates and realleges all previous allegations as if set forth nilly herein.

Defendant Citimortgage lnc. has sought to collect money and/or property from Plaintiff when
Plaintiff is under no contractual obligation to pay Defendant Citimortgage Inc. anything.

By instituting the foreclosure action. Defendant Citimortgage lnc. has sought to obtain property
from Plaintiff without Plaintiff s consent or under color of official right.

As a result of Defendant Citimortgage Inc. actions, Plaintiff has suffered damages in excess of
$400.000.00

FOURTH CAUSE OF ACTlON
VIOLATION OF THE UNFAlR OR DECEPTIVE TRADE PRACTICES ACT,
TITLE 13 § 13-303 OF THE MARYLAND CODE
Plaintiff reincorporates and realleges all previous allegations as if set forth fully herein.

Defendants knew or should have known that they needed to produce the original promissory

note or a VERlFIED COPY allegedly executed by Plaintiff

Defendants knew or should have known that Plaintiff would suffer damages as a result of
Defendant’s improper attempts to collect on the promissory note that was never produced.
Defendant`s misrepresentations were intentional and were a material fact in convincing the

Clerk of`Court to proceed with the foreclosure of Plaintifi’s home.

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Defendants’ conduct constituted “unfair or deceptive practice” pursuant to Title 13, §13~301
and § 13-303 of the Maryland Code.

Defendant’s conduct created likelihood of confusion and/or of misunderstanding for Plaintiff.
Plaintiff suffered damages as a proximate result of Defendant`s conduct.

The acts. practices, and/or omissions of Defendant proximately caused economic injury to
Plaintiff affecting commerce; have the capability to deceive an ordinary consumer; are
unscrupulous. immoral, and oppressive; and constitute unfair and deceptive trade practices in
violation of Title 13 § 13-303 of the Maryland Code thereby entitling Plaintiff to treble his

actual damages pursuant to Title 21 § 21-404 of the Maryland Code.

WHEREFORE, Plaintiff prays to the Court as follows:

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That this verified Complaint be treated as an affidavit upon which the Court may base future
orders.

For a monetary judgment against Defendants in excess of $400,000.00

For an Order requiring Defendant to be enjoined from any further foreclosure actions against
Plaintiff`s residence.

For an Order requiring Defendant to cancel all liens on Plaintiff s residence.

For an Order requiring Defendant to remove all references to any mortgage with Defendant from
Plaintiff`s credit report.

For ajury trial on all issues so triable.

For such other and further relief as the Court deems just and proper.

This the / g day of May_. 2010

Percy D. ;tven§ ?;
6368 Coventry Way #366

Clinton. Maryland 20735
240-346-5297

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VERIFICATION

The undersigned verifies. under penalty of perj ury, that he has reviewed the aforementioned
COMPLA]NT and asserts that the allegations therein are true and based on personal knowledge
or averred based on information and belief that the same are true.

Thisme /é’ day orMay. 2010. / VQ ,
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Percy D. `inensU

NOTEARY PUBLlC

Sworn to and subscribed to mci /

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My commission expires

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CERTIF|CATE OF SERVlCE

The undersigned hereby certifies that a true and accurate copy of the foregoing complaint has been
served on the parties as listed below. by certified mail. return receipt requested.

CitiMortgage, lnc.

Corporation Trust Incorporated
Registered Agent

300 E. Lombard, Street.
Baltimore Md. 21202

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Percy D. vens

6368 Coventry Way #366
Clinton, Maryland 20735
240-346-5297

